 Fill in this information to identify the case:
 Debtor 1    Christopher John Standerwick

 Debtor 2    Crystal Dawn Preston-Standerwick
             aka Crystal Dawn Preston
             aka Crystal Dawn Standerwick

 (Spouse, if filing)

 United States Bankruptcy Court for the EASTERN District of MICHIGAN

 Case number 17-57688-tjt


Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                            12/16

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy filing that you
assert are recoverable against the debtor or against the debtor's principal residence.
File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.

Name of creditor: WILMINGTON SAVINGS FUND SOCIETY,   Court claim no. (if known): 23
FSB, D/B/A CHRISTIANA TRUST, NOT INDIVIDUALLY BUT AS
TRUSTEE FOR HILLDALE TRUST


Last 4 digits of any number you use to
identify the debtor’s account: 1008

Does this notice supplement a prior notice of postpetition
fees, expenses, and charges?
■ No
□ Yes. Date of the last notice:

 Part 1:       Itemize Postpetition Fees, Expenses, and Charges
 Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any escrow
 account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously approved an amount,
 indicate that approval in parentheses after the date the amount was incurred.

            Description                                                                             Date Incurred                Amount

 1          Late Charges                                                                                                  (1)        $0.00

 2          Non-sufficient funds (NSF) fees                                                                               (2)        $0.00

 3          Attorneys fees                                                                                                (3)        $0.00

 4          Filing fee and court costs                                                                                    (4)        $0.00
                                                                                                2/16/2018 (plan review)
 5          Bankruptcy/Proof of claim fees                                                                                (5)    $650.00
                                                                                                     3/09/2018 (POC)
 6          Appraisal/Broker's Price opinion fees                                                                         (6)        $0.00

 7          Property inspection fees                                                                                      (7)        $0.00

 8          Tax Advances (non-escrow)                                                                                     (8)        $0.00

 9          Insurance advances (non-escrow)                                                                               (9)        $0.00

 10         Property preservation expenses                                                                                (10)       $0.00

 11         Other. Specify:                                                                                               (11)       $0.00

 12         Other. Specify:                                                                                               (12)       $0.00

 13         Other. Specify:                                                                                               (13)       $0.00

 14         Other. Specify:                                                                                               (14)       $0.00



 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
 See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.

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Debtor 1 Christopher John Standerwick                                    Case number (if known) 17-57688-tjt
           Print Name          Middle Name     Last Name




 Part 2:      Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

 Check the appropriate box.

      □ I am the creditor
      ■ I am the creditor’s authorized agent.
 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.

                            /s/ Sonali Patel
                         __________________________________________________                                    Date
                                                                                                                         08/10/2018
                                                                                                                       ____________________
                        Signature




  Print                     Sonali B. Patel
                        __________________________________________________                                     Title   Bankruptcy Attorney
                        First Name                         Middle Name   Last Name


  Company               RAS Crane, LLC


  Address               10700 Abbott's Bridge Road, Suite 170
                        Number               Street


                        Duluth, GA 30097
                        City                                                  State         ZIP Code

  Contact Phone         470-321-7112                                                                                   spatel@rascrane.com
                                                                                                               Email _______________________




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                                  UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF MICHIGAN (Detroit)

IN RE:                                                          CASE NO.: 17-57688-tjt

Christopher John Standerwick,                                   CHAPTER 13

Crystal Dawn Preston-Standerwick,
        Debtors.


                                             CERTIFICATE OF SERVICE
             I HEREBY CERTIFY that on August 10, 2018, I electronically filed the foregoing with the Clerk of Court by
using the CM/ECF system, and a true and correct copy has been served via CM/ECF or United States Mail to the
following parties:



James P. Frego, II
Frego & Assc.-The Bankruptcy Law Office
23843 Joy Road
Dearborn Heights, MI 48127

Toni Valchanov
Frego & Associates
23843 Joy Road
Dearborn Heights, MI 48127

Christopher John Standerwick
Crystal Dawn Preston-Standerwick
3470 Yardly Ct.
Sterling Heights, MI 48310

Tammy L. Terry
Buhl Building
535 Griswold
Suite 2100
Detroit, MI 48226

                                                                             RAS Crane, LLC
                                                                             Authorized Agent for Secured Creditor
                                                                             10700 Abbott's Bridge Road, Suite 170
                                                                             Duluth, GA 30097
                                                                             Telephone: 470-321-7112
                                                                             Facsimile: 404-393-1425

                                                                             By: _________________________
                                                                                 /s/ Alexis Van Zilen
                                                                                  Alexis Van Zilen
                                                                                  avzilen@rascrane.com


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